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                                                                                             2017 Nov-07 PM 03:13
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHEASTERN DIVISION

AMBERLY FORTENBERRY,                              )
                                                  )
        PLAINTIFF,                                )
                                                  )
v.                                                )   CASE NO.: 5:17-CV-01608-HNJ
                                                  )
GEMSTONE FOODS, LLC;                              )
                                                  )
        DEFENDANT.                                )

                       REPORT OF PARTIES’ PLANNING MEETING

        The following Counsel participated in a Rule 26(f) conference and, pursuant to the Court’s

Order, dated August 16th, 2017 (doc. 17), hereby request that the Court enter the following

scheduling order:

Representing the Plaintiff:    B. Scott Shipman

Representing the Defendant: John W. Sheffield and Robert Evans Sanders

        It is hereby ORDERED as follows:

This case is to be tried by struck jury.

         1.      EXTENSIONS FOR THE DEADLINES SET FOR DISCOVERY CUTOFF

 AND DISPOSITIVE MOTIONS WILL NOT BE EXTENDED ABSENT GOOD CAUSE

 SHOWN.

         2.      Discovery: All discovery is to be commenced in time to be completed by June

 1st, 2018.

         3.      Initial Disclosures: The parties shall exchange by November 30th, 2017 the

 information required by Local Rule 26.1(a)(1).

         4.      Electronically Stored Information: A producing party may initially produce
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electronic or computer-based information in a searchable PDF format rather than the native

electronic format. Upon written request by the opposing party, however, the producing party

will produce in native electronic format unless the producing party has good cause for not doing

so. Within 10 days of any written request, the producing party will either produce in native

format or object in writing to producing in native electronic format. Should it become necessary

for any Defendant to conduct searches of ESI to retrieve documents responsive to requests for

production, Defendant will consult with Plaintiff regarding the parameters of the data being

searched, including the searchable fields, the best method of production, the search terms to be

used, the software being used, and other relevant matters, in accordance with Fed. R. Civ. P.

Defendant will conduct quality assurance testing to see if the search terms produce reasonably

responsive ESI and limited false positives. The parties will confer in good faith regarding any

production issues before submitting a dispute to the Court.

        5.      Limitations on Interrogatories: Maximum of 25 interrogatories (including

discrete subparts) by each party to any other party. Responses due 30 days after service.

        6.      Limitations on Requests for Production: Maximum of 40 requests for

production (including discrete subparts) to any other party. Responses due 30 days after service.

        7.      Limitations on Requests for Admission: Maximum of 40 requests for

admission by each party to any other party. Responses due 30 days after service.

        8.      Limitations on Depositions: Maximum of 10 depositions by Plaintiff and 10 by

Defendant(s). Each deposition is limited to a maximum of 8 hours unless extended by agreement

of the parties or order of the Court.

        9.      Reports from retained experts under Fed. R. Civ. P. 26(a)(2): Due from

Plaintiff by March 31st, 2018, and from Defendant(s) by April 30th, 2018.
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             10.   Supplementation of disclosures and discovery under Fed. R. Civ. P. 26(e):

    Due as soon as reasonably possible after new information is discovered, but no later than April

    30th, 2018.

             11.   Parties and Pleadings: Plaintiff is allowed until January 15th, 2018, to join

    additional parties and to amend the pleadings. Defendant(s) are allowed until January 31st, 2018

    to join additional parties and amend the pleadings.1

             12.   Dispositive Motions: All potentially dispositive motions should be filed by July

    1st, 2018.

             13.   Final lists of witnesses and exhibits under Fed. R. Civ. P. 26(a)(3) and lists

    of deposition designations for trial testimony must be served and filed 30 days before trial.2

    Objections to final lists of witnesses and exhibits must be served and filed 15 days prior to trial.

             14.   Motions in Limine: All Motions in Limine should be filed 15 days prior to

    trial.

             15.   Additional Conferences:        Final Pretrial Conference scheduled September

    3rd, 2018.

             16.   The case will be ready for trial by November 1st, 2018.

             17.   Trial is expected to take 3 to 4 days.

DONE AND ORDERED this _____ day of November, 2017.


1
 Any Amended Complaint must comply with Fed. R. Civ. P. 8(a), 10(b) and 11(b).
2
 Unless specifically agreed by the parties or allowed by the court for good cause shown, the
parties shall be precluded from offering substantive evidence through any witness not so listed.
The listing of a witness does not commit the listing party to have such witness available at trial
or to call such witness to testify, but does preclude the listing party from objecting to the
presentation of such witness’ testimony by another party.
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                                         _________________________________________
                                         UNITED STATES DISTRICT JUDGE


Agreed to by:

___s/ B. Scott Shipman___
B. Scott Shipman (ASB-8647-S82B)
OF COUNSEL FOR PLAINTIFF:
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   s/ John W. Sheffield
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    s/ Robert Evans Sanders
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